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                         IN THE UNITED STATES BANKRUPTCY COURT
                         NORTHERN DISTRICT OF ILLINOIS (CHICAGO)


 In re:                                                                      Chapter 7
 Carina Wegrzyn
          Debtor.
                                                                             No. 18-32371
                                                                             Judge: Pamela S. Hollis
                                        NOTICE OF MOTION
To Trustee:
Zane Zielinski, Trustee
By Electronic Notice through ECF

To Trustee Attorney:
Daniel J Nicke
By Electronic Notice through ECF

To Debtor Attorney:
Anamaria F Rivero
By Electronic Notice through ECF

To Debtor:
Carina Wegrzyn
By U.S. Mail

         On Friday, September 6, 2019 at 10:45am, I shall appear before the Honorable Pamela S. Hollis
or any Judge sitting in her stead or as soon thereafter as counsel may be heard at Joliet City Hall, 150
West Jefferson Street, 2nd Floor, Joliet, IL 60432 and shall then and there present this Motion of the
undersigned, a copy of which is attached hereto and herewith served upon you, and shall pray for the
entry of an Order in compliance therewith, at which time you may appear if you so desire.

Name:                    RANDALL MILLER & ASSOCIATES, LLC
                         Attorneys for Plaintiff
Address:                 120 N. LaSalle St., Ste. 1140
                         Chicago, IL 60602
Attorney:                ARDC#6314883

Dated: August 14, 2019
                                                     /s/ Jack N. Zaharopoulos
                                                     Attorney for Creditor
                                                     120 N. LaSalle St. #1140
                                                      Chicago, IL 60602
                                                      (312) 267-2104
                                                     bankruptcy@rsmalaw.com
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                                UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF ILLINOIS

 In re:
 Carina Wegrzyn,                                          Case No: 18-32371
          Debtor.                                         Chapter: 7
                                                          Hon. Judge: Pamela S. Hollis


                           MOTION FOR RELIEF FROM AUTOMATIC STAY

         NOW COMES Movant, U.S. Bank Trust National Association, not in its individual capacity but

solely as owner trustee for Legacy Mortgage Asset Trust 2018-RPL5 by and through its attorneys,

Randall S. Miller & Associates, LLC, and shows unto this Honorable Court as follows:

         1.        That Movant is the holder of a mortgage on the real property owned by the Debtor and

located at 4909 W 109th Street, Oak Lawn, IL 60453 and more particularly described as:

         UNIT 13-202 IN CLOISTER CONDOMINIUM AS DELINEATED ON A SURVEY OF THE
         FOLLOWING DESCRIBED REAL ESTATE: LOTS 1 THROUGH 4, BOTH INCLUSIVE, IN
         BEKTA AND O’MALLEYS CONSOLIDATION OF PART OF THE SOUTHEAST 1/4 OF
         SECTION 16, TOWNSHIP 37 NORTH, RANGE 13, EAST OF THE THIRD PRINCIPAL
         MERIDIAN, IN COOK COUNTY, IL, WHICH SURVEY IS ATTACHED AS EXHIBIT “A” TO
         THE DECLARATION OF CONDOMINIUM OWNERSHIP (HEREINAFTER REFERRED TO
         AS “DECLARATION”) RECORDED IN THE OFFICE OF THE RECORDED OF DEEDS OF
         COOK COUNTY, ILLINOIS, AS DOCUMENT 25475180 TOGETHER WITH ITS
         UNDIVIDED PERCENTAGE INTEREST IN THE COMMON ELEMENTS AS SET FORTH
         IN THE DECLARATION.
         Illinois PIN NUMBER: 24-16-409-051-1150 VOL. 0244

         2.        That the Debtor filed Chapter 7 Bankruptcy on November 19, 2018;

         3.        That cause exists pursuant to § 362(d) to lift the automatic stay since (a) the Debtor

intends on the surrendering the property, (b) no payments have been made since September 2018 and (c)

there is no equity in the subject real estate (value per the Debtor is $92,000.000 and amount owed to

Movant alone is over $105,000.00).

         4.        That, even though no equity exists in this property, the Chapter 7 trustee filed a Motion to

Retain Legal Counsel and an Application to Employ Real Estate Broker in May 2019 in an effort to sell

the real estate.

         5.        That Movant has not agreed to a short sale of the real estate.
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        6.      That as of August 12, 2019, Debtor’s account is due and owing for the months of October

1, 2018 to August 1, 2019

                12 mortgage payments at $836.88                            $10,042.56
                Property Inspection                                        $148.50
                Late Charges                                               $37.85
                Attorney fees and costs                                    $931.00
                Total Arrears                                              $11,159.91

        7.      That the entry of the order granting relief from the automatic stay shall be effective

immediately upon entry, notwithstanding the provisions of FRBP 4001(a)(3);

        WHEREFORE, Movant, its successors and assigns, respectfully requests that this court enter an

Order Granting Relief from the Automatic Stay against Debtor for good cause shown pursuant to 11 USC

§362 (d)(1), and that entry of the order shall be effective immediately upon entry, notwithstanding the

provisions of FRBP 4001(a)(3), and whatever other relief the court deems just and equitable.


                                                          Respectfully Submitted,
                                                          Randall S. Miller & Associates, LLC

Dated: August 14, 2019                                     /s/ Jack N. Zaharopoulos
                                                          120 North LaSalle Street, Suite 1140
                                                          Chicago, IL 60602
                                                          bankruptcy@rsmalaw.com
                                                          (312) 239-3432
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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF ILLINOIS

 In re:
 Carina Wegrzyn                                       Case No: 18-32371
 Debtor.                                              Chapter: 7
                                                      Hon. Judge: Pamela S. Hollis

                                     CERTIFICATE OF SERVICE

        The undersigned, hereby certifies that I have served a copy of this Notice along with the Motion
for Relief from Automatic Stay upon the parties listed below, as to the Trustee and Debtor(s) attorney via
electronic notice on August 14, 2019     and as to the Debtor(s) by causing same to be mailed in a
properly addressed envelope, postage prepaid, from 43252 Woodward Avenue, Bloomfield Hills, MI
48302 before the hour of 5:00 PM on August 14, 2019

 Debtor                                Chapter 7 Trustee                  Debtor’s Attorney
 Carina Wegrzyn                        Catherine L. Steege, ESQ           Anamaria F Rivero
 2406 Mayfield Dr                      Jenner & Block                     Thomas T. Boundas & Associates
 Montgomery, IL 60538-5038             353 N. Clark Street                6428 Joliet Rd., Ste. 204
                                       Chicago, IL 60654                  Countryside, IL 60525

 Chapter 7 Trustee Attorney            Interested Party                   Patrick S Layng
 Daniel J Nickel                       Cook County Treasurer              Office of the U.S. Trustee, Region
 Daniel J. Nickel P.C.                 PO Box 805438                      11
 One North State St.                   Chicago, IL 60680                  219 S Dearborn St
 Ste. 1500                                                                Room 873
 Chicago, IL 60602                                                        Chicago, IL 60604

                                                         ____/s/ Cassandra McLone_____
                                                                 Cassandra McLone
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